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                       UNITED STATES DISTRICT COURT
                FOR THE CENTRAL DISTRICT OF CALIFORNIA
                           SOUTHERN DIVISION
 ___________________________________
                                     ) Case No. 8:20-mc-127 JLS (JDEx)
 HMD GLOBAL OY,                      )
                                     ) REPLY IN SUPPORT OF MOTION BY
    Movant,                          ) HMD GLOBAL OY TO COMPEL
                                     ) PRODUCTION OF DOCUMENTS
 v.                                  ) FROM ACACIA RESEARCH
                                     ) CORPORATION
 ACACIA RESEARCH CORPORATION, )
                                     ) Judge: John D. Early
    Respondent.                      ) Date: January 21, 2021
                                     ) Time: 10:00 a.m. PST
                                     ) Place: Telephonic Hearing
                                     ) Discovery Cutoff: March 18, 2021
                                     ) Pretrial Conference: June 29, 2021
                                     ) Discovery Cutoff: March 18, 2021
 ___________________________________ ) Trial Date: August 2, 2021




                                      REPLY IN SUPPORT OF MOTION BY HMD GLOBAL TO COMPEL
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                                      INTRODUCTION
       As HMD Global explained in its motion, the question before this Court is simple:
 must Acacia Research Corporation produce documents showing whether its wholly owned
 subsidiary, Cellular Communications Equipment LLC, has standing to pursue claims of
 infringement in its underlying litigation against HMD Global Oy? After ARC’s opposition
 to the motion, the answer is still “yes.”
       Following its practice throughout this matter, ARC’s opposition does everything it
 can to avoid this question. ARC largely ignores, and thus admits, most of HMD Global’s
 relevance arguments, concentrating again on the doomed argument that the
                                     is not a license, and that HMD Global cannot obtain
 discovery because ARC disagrees with its legal theory. But if these excuses were valid,
 there would be no discovery. Next ARC argues that discovery will be too expensive—but
 it admits that it was obliged all along to preserve these documents, and submits only one
 supporting declaration that is sometimes hearsay, sometimes multiple hearsay, and
 sometimes both of those and also improper expert testimony. Finally, ARC asks the Court
 to shift costs of its production onto HMD Global, even though ARC admits that it can
 produce documents through its subsidiary CCE any time it wants, and indeed has done so
 in this action. ARC thus asks the Court to endorse its game of “heads I win, tails you
 lose,” allowing it to produce for free the documents it wants in the case, while charging
 HMD Global for the documents it wants out of it. ARC’s diversions and distractions
 cannot change the question before the Court: must ARC produce documents showing
 CCE has standing to pursue HMD Global? The answer to this question is still “yes.”
                                         ARGUMENT
 I.    The Subpoenaed Documents Are Directly Relevant to the Key Issue of Standing
       A.     ARC Does Not Oppose Most of HMD Global’s Relevance Arguments
       In its motion, HMD Global explained in detail how each of its requests seeks
 documents squarely relevant to key issues including the Constitutional question of
 standing, without which no claims can proceed. Mot. § III, at 8-20. In its opposition brief,
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 ARC “fails to respond” to most of these arguments or even to mention them, “thereby
 conceding the point.” Zellerino v. Roosen, No. 16-485, 2016 WL 10988763, at *5 (C.D.
 Cal. Aug. 22, 2016); see, e.g., Kabir v. Flagstar Bank, FSB, Case No. 16-360, 2017 WL
 8220425, at *3 (C.D. Cal. May 12, 2017). ARC hangs its relevance hat on two arguments:
 first, that the
                        and second, that HMD Global can use the Starboard security interests
 only to make the same standing arguments it makes about the
                          Neither argument is correct.
        B.         Disagreement Over a Legal Theory Cannot Block Discovery
        In its motion, HMD Global explained that ARC cannot block discovery based on its
 disagreement with the underlying legal theory. Mot. § II, at 6-8. Without addressing or
 even mentioning HMD Global’s arguments or case law, ARC’s opposition argues primarily
 that ARC can block discovery based on its disagreement with the underlying legal theory.
 Opp. at 6-9. ARC is wrong for the reasons HMD Global has already explained, see Mot.
 § II, at 6-8, and ARC’s arguments in opposition only support HMD Global’s subpoena.
        ARC first argues that “it is undisputed that no written instrument has ever conveyed
 to ARC any ownership rights in the ’923 Patent.” Opp. at 6:15-17 (emphasis in original).
 This statement is false. How could it be “undisputed” that “no written instrument has ever
 conveyed to ARC any ownership rights” when ARC has not produced a single document?
 HMD Global certainly agrees that CCE has not produced any such documents, but that is
 an argument for the discovery HMD Global seeks, not against it. If ARC does possess
 documents showing ownership of the ’923 patent or a portfolio including it, they would be
 responsive to multiple requests in HMD Global’s subpoena, likely including Request Nos.
 5-12, 13-15, and 16-17, and potentially others depending on their context.
        ARC next argues that, because “the Federal Circuit requires a written instrument in
 order to obtain rights to a patent, it is established as a matter of law that ARC does not
 have, nor has it ever had, any ownership rights to the ’923 patent.” Opp. at 6:18-22 (citing
 Enzo APA & Sons, Inc. v. Geapag A.G., 134 F.3d 1090, 1093 (Fed. Cir. 1998)). Again,
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  even on its own terms, this argument supports HMD Global’s proposed discovery, because
  ARC has not produced its documents and thus HMD Global cannot probe whether such a
  “written instrument” exists.
        But the Court should not accept ARC’s Enzo argument on its own terms, because
  ARC misapplies Enzo. There, the Court of Appeals found that a patent plaintiff lacked
  standing to bring suit because, as of the filing of its complaint, it was not an exclusive
  licensee and failed “to join the patentee” to its complaint. 134 F.3d at 1094; see generally
  id. Enzo thus sets a bar for a patentee to gain standing to sue, but says nothing about how
  a patentee can lose standing to sue, as HMD Global alleges that CCE lost standing here
  when ARC licensed the ’923 patent through, as CCE admits,
                                                                         Opp. at 6:26-27.
  Twelve years after Enzo, the Court of Appeals confirmed that a patent plaintiff such as
  CCE “lacks standing to sue a party who has the ability to obtain such a license from
  another party with the right to grant it.” WiAV Sols. LLC v. Motorola Inc., 631 F.3d 1257,
  1266 (Fed. Cir. 2010). Given the strong indication in the
                    that “another party”—CCE’s ultimate parent ARC—has “the right to
  grant” licenses to the ’923 patent, and                                               Enzo has
  no bearing, and HMD Global is entitled to explore how ARC acquired “the right to grant”
  licenses to the ’923 patent, which it seeks to do through its subpoena.
        ARC’s Enzo argument works against ARC in yet another way. Although ARC
  implies that the “written instrument” it claims Enzo requires must be an official-looking
  agreement with signature blocks, that is not so. Enzo relies on 35 U.S.C. § 261, which
  states that patent interests “shall be assignable in law by an instrument in writing.” 134
  F.3d at 1093. As the Court of Appeals has recently confirmed, “an assignment must be
  documented in an ‘instrument in writing[,]’ but there are no form or content requirements
  for the written instrument specified in the statute.” Schwendimann v. Arkwright Advanced
  Coating, Inc., 959 F.3d 1065, 1072 (Fed. Cir. 2020) (quoting 35 U.S.C. § 261) (alteration
  in original). As a result, “[w]ho has legal title to a patent is a question of state law,”
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  Schwendimann, 959 F.3d at 1072 (quoting Enovsys LLC v. Nextel Commc’ns Inc., 614 F.3d
  1333, 1342 (Fed. Cir. 2010)), and assignments are “interpreted in accordance with contract
  statutes and common law in the state where the assignment took place.” Schwendimann,
  959 F.3d at 1072 (citing Tri-Star Elecs. Int’l Inc. v. Preci-Dip Durtal SA, 619 F.3d 1364,
  1367 (Fed. Cir. 2010)). ARC’s headquarters is and always has been in California, and in
  California an exchange of emails can suffice. See Xyience Beverage Co., LLC v. Statewide
  Beverage Co., Inc., Case No. 15-2513, 2015 WL 13313487, at *7 (C.D. Cal. Oct. 30,
  2015); Ruiz v. Moss Bros. Auto Grp., 232 Cal. App. 4th 836, 843 (2014). Thus ARC’s
  insistence on Enzo further explains why HMD Global seeks emails from ARC, and why it
  cannot discover the truth without them.
        C.      ARC’s Own Arguments Show the Relevance of HMD Global’s Discovery
        ARC then turns to the                                                   itself,
  doubling down on its contorted construction of that agreement, which it claims




                                                   Opp. at 7:11-15 (emphasis in original); see
  id. at 6-8. This argument cannot help ARC, but can and does help HMD Global.
        To be clear: ARC argues that the
                                                ARC makes this argument despite the
  inclusion, in the




                Docket No. 3-2 at 4. ARC makes this argument despite the statement in


             Docket No. 3-2 at 9. But this Court need not and should not decide the
  underlying legal issue; it must instead consider only whether the party seeking to avoid
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  discovery, here ARC, has met its “heavy burden of making a strong showing why
  discovery should be denied.” Soundgarden v. UMG Recordings, Inc., Case No. 19-5449,
  2019 WL 10093965, at *6 (C.D. Cal. Dec. 2, 2019) (internal quotation omitted); see Mot.
  at 6-7. ARC cannot square its argument with provisions of the
                                          it cannot meet this “heavy burden.” Id.
        ARC’s arguments do, however, further explain why HMD Global needs the
  discovery it seeks. ARC contends, both here and against HMD Global’s motion to
  dismiss, that it merely
                              Opp. at 7:14-15 (emphasis in original); see Docket No. 3-4 at 6,
  7; Docket No. 3-6 at 3; see, e.g., Mot. at 12-13.
                                     that no one has yet produced to HMD—and documents
  regarding that license are not only parol evidence regarding the
                            but independently relevant to HMD Global’s claims in the
  underlying action, as ARC’s subsidiary CCE admitted by producing all of its other licenses
  for the ’923 patent—but not this one.
        Such a license would be responsive to multiple requests in HMD Global’s subpoena,
  including Request Nos. 1-12. HMD Global seeks discovery that would answer other,
  equally relevant questions regarding ARC’s unorthodox understanding of the


                                               (Request Nos. 1-12.)
                                                          (Request Nos. 1-17, 24-26.) Did
  CCE do it? How?


  (Request Nos. 1-12.) What did ARC tell



                             (Request Nos. 1-15.) Without answers to these questions, HMD
  Global cannot rebut ARC’s arguments that the
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                                                                                      ARC’s
  own arguments thus confirm the direct relevance of HMD Global’s discovery.
        D.   Having Withheld the Documents Necessary to Argue in the Alternative
             if the Contract is Ambiguous, ARC Cannot Blame HMD Global for
             Failing to Argue in the Alternative if the Contract is Ambiguous
        ARC argues that HMD Global cannot seek discovery that “requires ambiguity” in
  the                                                  because HMD Global’s motion to
  dismiss does not allege ambiguity in that contract. Opp. at 8-9. To begin with, HMD
  Global’s discovery does not, in fact, “require[] ambiguity” in the
                            For example, HMD Global seeks documents regarding the
  mysterious
               (Request Nos. 1-15, 24-25),
                                                                         (Request Nos. 5-12,
  16-17), documents concerning the ’923 patent ownership and litigation (Request Nos.
  13-15, 18, 24-25), and documents concerning a security agreement unrelated—as far as
  HMD Global currently knows, without any discovery from ARC—to the
                                      (Request Nos. 19-23.)
        But even if the Court assumes that all of HMD Global’s discovery “requires
  ambiguity” in the                                                    HMD Global should
  still receive discovery, because HMD Global’s existing motion does not preclude it from
  arguing ambiguity in the alternative. HMD Global filed its motion to dismiss on
  September 21, 2020, four days after CCE produced the
                Mot. § D. It subpoenaed ARC four days after that. Id. § F. Although it is
  common for litigants to argue ambiguity in the alternative even if they believe a contract is
  unambiguous, see, e.g., Podwall v. Robinson, Case No. 16-6088, 2019 WL 934973, at *4
  (C.D. Cal. Feb. 26, 2019); see, e.g., Pacesetter Inc. v. SurModics, Case No. 11-3964, 2011
  WL 507611, at *2 n.2 (C.D. Cal. Oct. 25, 2011), when it filed its motion to dismiss HMD


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  Global had only the                                                    and thus did not argue
  ambiguity in the alternative, because it had no additional evidence with which to do so.
        Because ARC has refused to respond to the subpoena, HMD Global still has no
  additional evidence with which to argue ambiguity in the alternative—but that is an
  argument for discovery, not against it. Only after ARC produces documents could HMD
  Global determine whether it should file a renewed motion to dismiss including such
  alternative arguments. See Uniloc USA, Inc. v. Apple Inc., Case No. 18-358, 2020 WL
  7122617 (N.D. Cal. Dec. 4, 2020) (granting renewed motion to dismiss for lack of
  standing based on new evidence obtained through discovery); see also Mot. at 7:20 to 8:9.
        E.   ARC Misstates New York Law, Which Allows Application of Parol
             Evidence to Determine the Meaning of Ambiguous Contracts, Even If
             Those Contracts Contain Merger Clauses
        ARC next argues that because the
                            the parol evidence rule excludes any other evidence to interpret
  the agreement. Opp. at 9. To begin with, HMD Global’s discovery will do much more
  than help interpret the                                                   See supra § I.C.
  But ARC’s argument is not correct even on its own terms, because ARC misstates New
  York law. ARC cites Schron v. Troutman Sanders LLP for the proposition that when a
  contract includes a merger clause, “the full application of the parol evidence rule applies.”
  Opp. at 9:24-28 (citing 20 N.Y.3d 430, 436 (2013)). ARC implies that “the full application
  of the parol evidence rule” means exclusion of any parol evidence, but that is not correct.
  As Schron itself confirmed, New York courts consider parol evidence if there is “an
  ambiguity in the contract,” and Schron affirmed exclusion of parol evidence only after
  explicitly finding that the disputed provision was unambiguous. 20 N.Y.3d at 436-37.
        Schron thus did nothing to change the normal rule, in New York as elsewhere, that
  parol evidence is helpful to interpret an ambiguous contract, even if that contract contains
  a merger clause. Indeed, a recent case in New York cited Schron to support the proposition
  that, in a lease dispute, “the ambiguity in the lease on the disputed issue permits
  consideration of extrinsic evidence with regard to the parties’ intent and understanding”
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  even though the “lease contains a general merger clause.” Greene v. Fast Eats Clifton
  Park, LLC, 183 A.D.3d 1215, 1220 n.5 (2020) (collecting cases including Schron); see
  also, e.g., Vivir of L I, Inc. v. Ehrenkranz, 127 A.D.3d 962, 964 (2015) (“parol evidence
  was properly admitted into evidence to explain the ambiguous phrase” in a disputed
  contract including a merger clause). ARC’s argument thus fails even on its own terms,
  because it relies on a misstatement of New York law.
        F.     ARC’s Opposition Confirms the Court Should Compel Discovery
               Concerning the Starboard Transactions
        HMD Global also seeks documents regarding ARC and CCE’s security interests
  with Starboard Value LP. Mot. § E; Request Nos. 19-23. Although CCE has produced
  some documents regarding these security interests, most recently on December 30, 2020, it
  production only confirms the need for a subpoena to ARC.1 According to ARC, after the
  December 30 production, “CCE has produced all documents and agreements in its
  possession (excluding emails) that are related to Starboard’s Patent Security Agreement.”
  Opp. at 10. But CCE’s production is facially incomplete—it omits schedules and exhibits
  to the controlling Patent Security Agreement between ARC and Starboard, including most
  notably                                                    See Ex. A at CCE_HMD_004877.
  ARC and CCE have now confirmed that at least the missing schedules and exhibits are not
  in CCE’s possession, an argument for discovery from ARC, not against it.
        ARC also argues that “[t]he Starboard Patent Security Agreement itself forecloses
  any argument that ARC owns the ’923 patent or transferred any rights in connection with
  the Starboard transaction, as it explicitly states that ‘nothing in this Patent Security
  Agreement or the Security Agreement assigns or transfers to [Starboard] any control or
  ownership interest in any of the Collateral, and such Grantor [CCE] retains any and all

        1
          ARC faults HMD Global for making “no mention” in its motion of CCE’s
  December 3 production of certain Starboard agreements. Opp. at 5-6. But ARC admits
  that HMD Global does, in fact, discuss the Starboard agreements in its opening papers, and
  further admits that CCE withheld these documents until “during the meet and confer
  process leading up to HMD’s previous draft joint stipulation” with ARC. Opp at 10.
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  such rights.’” Opp. at 10. Even if ARC could shield itself from discovery by simply
  disagreeing with HMD Global’s legal position—which it cannot, see Mot. § II at 7-8,
  supra § B—ARC misses the point. As HMD Global explained in its motion, the Starboard
  transactions are independently relevant to CCE’s standing. Mot. § III.E. CCE’s recently
  produced documents confirm this: through a complicated series of agreements, Starboard




  Ex. B at CCE_HMD_004939. These rights are eerily similar to those the Northern District
  of California recently found, in Uniloc USA, Inc. v. Apple Inc., “divested the Unilocs of
  standing to sue here.” 2020 WL 7122617, at *1 (finding that “[t]he Revenue Sharing
  Agreement granted Fortress a ‘a non-exclusive, royalty free, license (including the right to
  grant sublicenses) with respect to the Patents’ but on the condition that Fortress ‘shall only
  use such license following an Event of Default’”); see also id. at 7. Given Uniloc, HMD
  Global should be allowed to probe this agreement further, which requires discovery.
        Finally, ARC argues that HMD Global cannot take discovery into these transactions
  because the “security interest was later released.” Opp. at 10:5-6. Again, ARC is
  mistaken. Even CCE’s limited production shows that the June 30 release




                                                    Ex. C at CCE_HMD_02293.
                                                                                      Ex. D at
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  CCE_HMD_002526.




                                                                          Ex. E at
  CCE_HMD_001714, and further provides that ARC




                                     Compare Ex. F at CCE_HMD_002236 with Ex. B at
  CCE_HMD_004939.
                          CCE_HMD_001714; see also id. Schedule C.
        As in Uniloc, HMD Global is entitled to discovery concerning these transactions
  beyond the “plain language of both agreements.” Opp at 10. Indeed, it was precisely such
  discovery into the intent, understanding and actions of the parties, and not the words on the
  face of any agreement, that ultimately revealed Uniloc’s lack of standing to sue. The
  Uniloc court confirmed that its “prior order” denying dismissal “lacked some crucial facts
  which contributed to a correctable error of law,” which it could correct only after Apple
  took additional discovery and the Court of Appeals “remanded for discovery and
  resolution of the question of standing ‘in the first instance.’” Uniloc USA, Inc. v. Apple
  Inc. 2020 WL 7122617, at *2 (quoting Uniloc USA v. Apple Inc., 784 Fed. App’x 763, 768
  (Fed. Cir. 2019)). The same could be true here, but only discovery will show the truth.
        G.     ARC’s Arguments Confirm the Importance of HMD Global’s Discovery
        ARC briefly claims that HMD Global’s requests are a mere “fishing expedition.”
  Opp at 10. But ARC’s own arguments show why HMD Global’s discovery is important.
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  ARC argues that the


                  ARC claims that only a written contract can convey ownership of a patent,
  but refuses to produce emails that could be just such written contracts; it is not a fishing
  expedition to note this discrepancy and demand resolution. And ARC claims that the
  Starboard documents cannot possibly cause it to lose its standing, but very similar
  documents recently had precisely that effect on Uniloc. HMD Global is not on a fishing
  expedition; it would be shooting fish in a barrel, if ARC did not keep hiding the bullets.2
  II.   HMD Global’s Subpoena is Proportionate to the Needs of the Case
        “Under the Federal Rules of Civil Procedure, ‘[p]arties may obtain discovery
  regarding any nonprivileged matter that is relevant to any party's claim or defense and
  proportional to the needs of the case, considering the importance of the issues at stake in
  the action, the amount in controversy, the parties’ relative access to relevant information,
  the parties’ resources, the importance of the discovery in resolving the issues, and whether
  the burden or expense of the proposed discovery outweighs its likely benefit.’” Ardestani

  2ARC cites two cases in support of its arguments, neither of which helps it here. ARC
  cites Bresk v. Unimerica Ins. Co., Case No. 16-8893, 2017 WL 10439831, at *5 (C.D. Cal.
  Nov. 16, 2017), but Bresk supports HMD Global’s position, not ARC’s. ARC plucks a
  quote from Bresk regarding “mere suspicion,” but omits the surrounding analysis, which
  confirms only that the court “cannot order a party to produce documents that do not exist,”
  and will not compel production where a party makes the “representation that they are
  unable to locate responsive documents.” Id. at *5 (citing Carter v. Dawson, 2010 WL
  4483814, at *5 (E.D. Cal. Nov. 1, 2010)). Bresk ordered that, “to the extent that Defendant
  determines after a reasonable search that no documents, or no additional documents,
  responsive to the requests exist, it shall so state affirmatively in its revised responses,” and
  granted sanctions for insufficient discovery responses. Id. ARC has not stated that no
  responsive documents exist; if it can, it must. ARC also cites Strategic Partners, Inc. v.
  FIGS, Inc., quoting that court’s statement that the defendants failed to properly plead an
  affirmative defense to which the discovery would be relevant. Case No. 19-2286, 2020
  WL 4354172, at *9 (C.D. Cal. May 18, 2020). Strategic Partners has no bearing here,
  where ARC does not contest the relevance of standing to the underlying lawsuit, and HMD
  Global has identified the specific transactions about which it seeks discovery.
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  v. BMW of N. Am., LLC, Case No. 170721, 2018 WL 6016955, at *1 (C.D. Cal. May 4,
  2018) (quoting Fed. R. Civ. P. 26); see Mot. § I.
        “Upon a motion to compel discovery, the movant has the initial burden of
  demonstrating relevance. In turn, the party opposing discovery has the burden of showing
  that discovery should not be allowed, and also has the burden of clarifying, explaining and
  supporting its objections with competent evidence.” Philips N. Am. LLC v. PKI
  Healthcare, Inc., Case No. 19-1765, 2020 WL 3031614, at *2 (C.D. Cal. Mar. 10, 2020)
  (quoting United States v. McGraw-Hill Cos., 2014 WL 1647385, at *8 (C.D. Cal. Apr. 15,
  2014) (citations and internal quotation marks omitted)). Although HMD Global repeatedly
  met and conferred with ARC seeking to enforce its subpoena, see Mot. § G, Docket Nos.
  3-6 through 3-10, 1-12, 3-11 to 3-12, 1-15 through 1-19, and 3-13, ARC never supplied its
  proportionality or burdensomeness arguments until it opposed HMD Global’s Motion on
  December 31, 2020.3 The arguments it now submits suffer from factual, evidentiary, and
  legal defects. They uniformly fail.



        3
           ARC incorrectly seeks to blame HMD Global for its own delay. ARC claims that
  HMD Global’s “assertion that ARC ‘refused to participate in the joint stipulation process’
  is false,” Opp. at 4:2-3, but Local Rule 37-2.2 required it to “personally deliver, e-mail, or
  fax to counsel for the moving party the opposing party’s portion of the stipulation, together
  with all declarations and exhibits to be offered in support of the opposing party’s position”
  by November 23; ARC refused to do so, instead sending HMD Global a letter stating that
  “ARC believes it is improper to file the joint stipulation.” Docket No. 1-23. ARC could
  have followed Local Rule 37-2.2 by timely transmitting its portion of the joint stipulation
  while continuing to press its arguments under the Eastern District protective order; had it
  done so, HMD Global would have received ARC’s proportionality and burdensomeness
  arguments on November 23, instead of on December 31, and would not have been forced
  to respond to them for the first time in this reply. Nor can ARC use its protective-order
  claims to justify its delay; as ARC admits in its opposition, it could have followed Local
  Rule 37-2.2 secure in the knowledge that it was protected by the Eastern District protective
  order, under which HMD Global could not proceed with this matter “until the potential
  violation was resolved.” Opp. at 4:8-9; see id. at 5:11-13, Docket No. 26, Ex. A ¶ 24.
  ARC thus can blame only itself for its failure to follow this Court’s procedure.
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        A.     ARC Admits That Its Obligation to Preserve Documents Applied to the
               Documents Sought By HMD Global’s Subpoena as of Their Creation,
               and Further Admits to Apparent Deliberate Spoliation of Evidence
        In its motion, HMD Global explained in detail how ARC’s civil duty to preserve the
  subpoenaed documents attached at their creation. Mot. § IV.B, at 21-23. In its opposition,
  ARC “fails to respond to th[is] argument” or even to mention it, “thereby conceding the
  point.” Zellerino, 2016 WL 10988763, at *5; see, e.g., Kabir, 2017 WL 8220425, at *3.
  ARC then admits to what appears to be deliberate spoliation of evidence: Marc Booth,
  ARC’s Chief Intellectual Property Officer, avers that



                Docket No. 24-3 ¶ 16; see id. ¶ 2. But a merger clause does not bar the use
  of negotiation history as parol evidence to show the meaning of a contract, and negotiation
  history can have evidentiary value in many other contexts. See supra § I.E.
        ARC’s dual admissions—that the civil duty to preserve applied, but that ARC did
  not preserve documents subject to that duty—is both generally troubling and specifically
  devastating to ARC’s burdensomeness arguments opposing HMD Global’s Motion. Once
  the “duty to preserve is triggered,” as ARC admits it was here, “a party is required to
  preserve all relevant evidence and put into place a litigation hold to preserve relevant
  documents.” City of Colton v. Am. Promotional Events, Inc., No. 09-6630, 2011 WL
  13223880, at *2 (C.D. Cal. Nov. 22, 2011) (citing Zubulake v. UBS Warburg LLC, 220
  F.R.D. 212, 218 (S.D.N.Y. 2003). After the civil duty to preserve documents has attached,
  a party cannot store those documents in an inconvenient manner and then argue that it
  would be burdensome to recover them. Net-Com Servs., Inc. v. Eupen Cable USA, Inc.,
  No. 11-2553, 2013 WL 4007785, at *3 (C.D. Cal. Aug. 5, 2013). ARC’s dual admissions
  thus eviscerate its burdensomeness case, because ARC agrees that all of the documents
  sought by the subpoena fall under the civil obligation to preserve.



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        B.     ARC Should Receive No Special Consideration as a “Non-Party”
        ARC is not a true non-party to the underlying action. Mot. § D. ARC does not
  address any of these points, thus conceding them, but instead robotically repeats that it is a
  “non-party” to the underlying action. Opp. at 3:22, 4:14, 14:7, 16:12, 18:12-15. ARC
  submits no evidence to support this view, and its arguments and declarations undercut it at
  every turn. ARC submits evidence from only one CCE officer, Eric Lucas, who is also an
  officer of ARC. Docket No. 24-2 ¶¶ 2, 3.




                                                                                      Id. ¶ 9.
        ARC admits that it sets finely graded policies for activities such as document
  retention, and that those policies apply across all of its subsidiaries, including CCE.
  Docket No. 24-3 ¶¶ 16, 17. Perhaps most importantly,


         Opp at 17:10-11 (“ARC either has no responsive information or will provide it to
  CCE for production.”); see generally Docket No. 3-8. ARC’s opposition brief and
  accompanying materials thus bolster HMD Global’s view that ARC and its subsidiaries
  operate on an integrated basis, and that the Court should not accord special treatment to
  ARC as a purported “non-party” to the underlying case. See Mot. § D; Cellular Commc’ns
  Equip. LLC v. HTC Corp., Case No. 15-2373, Docket No. 19 (S.D. Cal. Dec. 16, 2015)
  (“Acacia is entitled to less deference regarding convenience than a true third party.”).
        C.     ARC Rehashes Relevance Arguments as Proportionality Arguments
        ARC spends a page briefly recasting some of its relevance arguments under
  proportionality. Opp. at 12:8 to 13:18. These arguments fail as proportionality arguments
  for the same reasons they fail as relevance arguments. See supra § I.



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        D.     ARC’s Claim of Burden Depends on Deficient Evidence
        ARC’s claim of burden rests entirely on its claim that collecting and producing
  documents responsive to HMD Global’s subpoena will be expensive and time-consuming.
  Opp. at 14:13 to 15:10. ARC’s claim of burden through cost not only cannot survive
  ARC’s admitted obligation to preserve its documents, see supra § II.A, but also rests on a
  rotten evidentiary foundation, which collapses upon examination by the Court.
               1.    ARC Falsely States That It Must Hire Outside Vendors
        ARC claims that compliance with HMD Global’s subpoena would cost an
                                             ” Opp. at 14:16, supporting this allegation with a
  single declaration from Eric Lucas, both the “President of Cellular Communications
  Equipment LLC” and “Senior Vice President of Acacia Research Corporation.” Docket
  No. 24-2 ¶¶ 2, 3. Mr. Lucas’ declaration rests entirely on the costs he claims ARC would
  incur by hiring outside personnel to perform various tasks. Id. ¶¶ 11-17. In turn, Mr.
  Lucas’ claim that ARC must hire outside personnel rests on a single statement:
                                                       if ARC were ordered to produce
        emails responsive to the HMD subpoena, ARC would need to hire contract attorneys
        and paralegals and IT personnel to retrieve and review for relevance the broad scope
        of emails requested by the HMD subpoena.
  Id. ¶ 10 (emphasis added). But Mr. Lucas’ statement that
              is disingenuous at best. Mr. Lucas admits in the same declaration that


                                  Id. ¶ 8. Although these employees of
                        —including Mr. Lucas himself—may not see the words “Acacia
  Research Corporation” on their paychecks,
                                                                                      Id.
        In light of this admission, it is simply incorrect to state, as Mr. Lucas does a few
  paragraphs later, that “ARC would need to hire” outside personnel
                             Id. ¶ 10 (emphasis added). Because ARC has the equivalent in
  its subsidiaries’ employees, to meet its burden it must, at the very least, explain why those
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  employees cannot perform a particular task before claiming that the cost of hiring outside
  vendors makes a task burdensome for it. Philips N. Am. LLC v. PKI Healthcare, Inc., Case
  No. 19-1765, 2020 WL 3031614, at *2 (C.D. Cal. Mar. 10, 2020) (“Once the minimal
  showing or relevance is made, ‘[t]he party who resists discovery has the burden to show
  that discovery should not be allowed, and has the burden of clarifying, explaining, and
  supporting its objections.’”) (quoting DIRECTV, Inc. v. Trone, 209 F.R.D. 455, 458 (C.D.
  Cal. 2002)). ARC does not make this showing; it does not even try.
               2.     ARC Relies on Inadmissible Hearsay Evidence
        But that is not the end of ARC’s evidentiary problems. ARC’s burdensomeness
  argument rests entirely on hearsay, and thus cannot be the “competent evidence” the law
  requires. Philips, 2020 WL 3031614, at *2 (C.D. Cal. Mar. 10, 2020) (quoting United
  States v. McGraw-Hill Cos., 2014 WL 1647385, at *8 (C.D. Cal. Apr. 15, 2014) (citations
  and internal quotation marks omitted)); Fuchs v. State Farm Gen. Ins. Co., No. 16-1844,
  2017 WL 469272, at *3 (C.D. Cal. March 6, 2017) (“Local Rule 7-7 states this District's
  requirements for the form and content of declarations: ‘Declarations shall contain only
  factual evidentiary matter and shall conform as far as possible to all the requirements of
  F.R. Civ. P. 56(c)(4).’”) (emphasis in original). Mr. Lucas states that:




  Docket No. 24-2 ¶ 11. This statement is classic hearsay: an unsworn statement, not from
  the declarant, that ARC “offers in evidence to prove the truth of the matter asserted in the
  statement.” Fed. R. Evid. 801(c). To the extent that this estimate was written down, which
  ARC does not specify, Mr. Lucas’ statement also fails the best evidence rule, Fed. R. Evid.
  1002. Although it should not matter given his other failures, Mr. Lucas makes no attempt
  to explain why


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                                                                      See generally Docket
  No. 24-2. Nor does Mr. Lucas explain how




                                                                   Id. ¶ 18; see id. ¶¶ 13-18.
  ARC then uses Mr. Lucas’ calculations to support its claim of
                                            Opp. at 14:15-16 (citing Docket No. 24-2 ¶¶
  10-18). Mr. Lucas’ decision to rely entirely on hearsay rather than submit firsthand
  evidence of the                                        and ARC’s decision to rely entirely
  on Mr. Lucas’ hearsay declaration, thus infects the entirety of ARC’s burden argument.
        Although that would be enough to preclude any reliance on Mr. Lucas’ hearsay
  declaration, the remaining paragraphs introduce additional disqualifying problems. Mr.
  Lucas claims
                                                               Docket No. 24-2 ¶¶ 13-18.
  But “[t]he belief of an employee of a third-party that is based on ‘review’ of unspecified
  ‘records’ of the third-party obviously is not admissible, competent evidence to prove” any
  factual proposition. U.S. Bank N.A. v. Fuladian, Case No. 12-10493, 2015 WL 12914324,
  at *1 (C.D. Cal. July 2, 2015). Just as in U.S. Bank, this “testimony lacks foundation,”
  because the “Court is not told what specific records are being relied on or why the records
  would be evidence” relevant to potential costs. Id. Just as in U.S. Bank, “there are so
  many levels of hearsay involved that even if Rule 803(6) could help with one of them, it
  would not solve all of them.” Id. Even assuming the documents Mr. Lucas referenced are
  business records—a big assumption—ARC “has not even submitted the actual [ARC]
  business records” on which it purports to rely, but merely Mr. Lucas’ “testimony about
  what he thinks the business records say.” 2015 WL 12914324, at *1.
        For all these reasons, Mr. Lucas’ declaration cannot support ARC’s claim of burden.
  Since ARC’s claim of burden depends entirely on Mr. Lucas’ declaration, it fails entirely.
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        E.   After Refusing to Identify Any Custodians for Three Months, ARC in Its
             Opposition for the First Time Identified Custodians for Request Nos. 1-4,
             Admitting That It Can Do the Same For HMD Global’s Other Requests
        ARC claims that HMD Global’s requests are unduly burdensome because they do
  not specify custodians. Opp. at 13-14. But the only party that knows who ARC’s
  custodians are or were is ARC, making ARC’s demand that HMD Global specify
  custodians before it will produce any documents effectively a refusal to produce any
  documents, as ARC well knows. HMD Global has repeatedly asked ARC to identify
  custodians for its requests, and ARC has repeatedly refused—until December 31, 2020,
  when it grudgingly identified
                                    Docket No. 24-3 ¶ 12. Although HMD Global believes
  the Court can order production responsive to its subpoena based on ARC’s admitted
  obligation to preserve responsive documents (supra § II.A), its status as an interested party
  (supra § II.B) and its failure to submit any competent evidence of burden (supra § II.D),
  the Court could also, in the first instance, order Acacia to identify specific custodians for
  the request of HMD Global’s requests, and start its search with those custodians.
        F.     ARC Should Provide This Production, Which it Can Easily Afford
        As of its most recent 10-K filing, publicly traded ARC had “approximately $168.3
  million in cash and cash equivalents,” with revenues that can reach into the hundreds of
  millions of dollars per year. Docket No. 1-30 at 5; see, e.g., id. at 22. And ARC has easy
  access to credit: it borrowed $115 million this summer. Ex. E at CCE_HMD_001714.
  Even if the Court accepts ARC’s improper evidence of cost (which it should not, see supra
  § II.D) and does not reduce those costs to reflect identification of custodians (which it
  should, see supra § II.E) then ARC can still easily afford to pay the costs associated a
  responsive production. Nor can ARC plead unfairness, see Opp. at 16; as a litigation
  business in the business of litigation, ARC knew well the risk of document production
  when it created the responsive documents, and cannot now complain that its own actions
  made the costs of producing those documents higher than they would otherwise be. See
  Mot. §§ A, IV.B; supra § II.A. And ARC argued specifically that only a written contract
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  can transfer patent rights, greatly increasing the relevance of emails between ARC and
  CCE, which could form or evidence such a contract. See supra § I.B.
        ARC admits that the “amount in controversy has not yet been determined,” but
  argues that this lack of information somehow means it should not provide HMD Global
  any discovery. Opp. at 16:10-12. But ARC cannot meet its burden of “showing that
  discovery should not be allowed,” and also “explaining and supporting its objections with
  competent evidence,” by pointing to a lack of information. Philips N. Am. LLC v. PKI
  Healthcare, Inc., 2020 WL 3031614, at *2. And ARC omits another piece of important
  information: CCE recently brought two other cases against other defendants, and settled
  them both for license payments. Cellular Commc’ns Equip. LLC v. One Plus Tech. Co.,
  Case No. 20-79, Docket No. 30 (E.D. Tex. Dec. 10, 2020); Commc’ns Equip. LLC v. TCL
  Corp., Case No. 20-80, Docket No. 26 (E.D. Tex. Nov. 5, 2020). If CCE had no standing
  to sue HMD Global, then it had no standing to sue those defendants either—but got away
  with it, presumably because those cases settled before CCE produced the
                                     or the Starboard security interest documents. ARC is a
  litigant by profession, and its subsidiary CCE will keep suing other parties as long as it can
  get away with doing so. In determining whether to allow HMD Global’s production, the
  Court should thus consider the scope of CCE’s overall litigation activity, rather than
  merely this case. Cf., e.g., People Not Politicians Oregon v. Clarno, 826 F. App’x 581,
  583 (9th Cir. 2020) (discussing exception to mootness doctrine for controversies “capable
  of repetition, yet evading review”).
        Finally, ARC has protection against production it truly finds unreasonable: it can
  stop at any time. Because HMD Global’s motion to dismiss remains pending in the
  underlying action, ARC subsidiary CCE can dismiss the entirety of that action simply by
  filing a notice of dismissal under Rule 41(a)(1)(A)(i), which is effective immediately upon
  filing. Id.; Exxon Corp. v. Maryland Cas. Co., 599 F.2d 659, 661 (5th Cir. 1979); see, e.g.,
  Von Drake v. Liberty Mut. Auto. Ins. Co., Case No. 06-24, 2006 WL 1408343, at *2 (E.D.
  Tex. May 16, 2006) (citing Exxon). Since the subpoena issued under CCE’s action in the
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  Eastern District of Texas, CCE’s dismissal of that action would bar enforcement of that
  subpoena and thus moot this ancillary action. As a result, any order from this Court
  compelling production would actually compel ARC to produce documents if, and only if,
  it concluded that maintaining CCE’s underlying action was worth doing so. The proof will
  thus be in the pudding: ARC can undertake its own, real-world burdensomeness analysis,
  and make its own, real-world decision. ARC’s unfettered right to avoid production
  provides the Court another reason to give no weight to its protestations of burden.
        G.     The Court Should Not Shift Costs of Any Production to HMD Global
        As its last line of defense, ARC asks for cost-shifting to HMD Global. Opp. at
  18-19. For several reasons, however, the Court should deny this request. First, ARC
  admits it was obliged to preserve the documents HMD Global seeks, making cost-sharing
  inapplicable. See supra § II.A; Net-Com Servs., Inc. v. Eupen Cable USA, Inc., No.
  11-2553, 2013 WL 4007785, at *3 (C.D. Cal. Aug. 5, 2013) (ordering the producing party
  “to bear the full cost of restoring and producing data on the hard drives” it failed to
  preserve properly after its “duty to preserve evidence arose”). Second, ARC is not a true
  non-party, but rather the sole owner and close controller of underlying plaintiff CCE. See
  supra § II.B. Third, ARC has failed to meet its burden of showing any costs at all, and
  thus cannot recover them. See supra § II.D.
        Fourth and most importantly, ARC admits that, at any time, it can produce whatever
  documents it wants through its subsidiary CCE. Opp at 17:10-11 (“ARC either has no
  responsive information or will provide it to CCE for production.”); see generally Docket
  No. 3-8 (repeatedly stating that “ARC responds that to the extent the documents
  reasonably relate to the patent-in-suit and any such documents exist, they have been
  provided to or are in the possession, custody, or control of CCE.”) (emphasis added).
  This admission is consistent with ARC and CCE’s behavior throughout discovery in this
  action: when HMD Global pressured ARC to produce documents, ARC passed some (but
  not all) of those documents to CCE, which produced them to HMD Global. E.g., Opp. at
  5-6. ARC thus seeks to produce freely the documents it wants to produce (by handing
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  them to CCE, represented by the same counsel) while withholding the documents it wants
  to withhold (by asking the Court to charge HMD Global for them). The Court should not
  allow these “heads I win, tails you lose” production games, which would give ARC and
  CCE improper control over their production contrary to the letter and spirit of the Rules.
                                       CONCLUSION
        For the foregoing reasons and those set forth in its motion, HMD Global respectfully
  requests that the Court grant HMD Global’s motion to compel production of all documents
  responsive to Requests for Production Nos. 1-26 in HMD Global’s Subpoena To Produce
  Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action.


  Date: January 5, 2021                         Respectfully submitted,

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